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                           Exhibit “A”
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                                  SETTLEMENT AGREEMENT
                                                                     is hereby made and entered into
 by and between ULLAH MOHAMMAD (the                                              ), an individual, on
 behalf of himself, his agents, assigns, attorneys, heirs, successors, executors and administrators,
 and SRI HARTIMAA INC., and SHER BHDUR KARKI, an individual, on behalf of himself,
 his agents, assigns, attorneys, heirs, successors, executors and administrators, (Sri Hartimaa Inc.,
 and Sher Bhdur Karki                                               Defendants ), on the other hand
 (the Plaintiff and the Defendants
 effective after it has been executed by the Parties and has received judicial approval.

                                             RECITALS

        WHEREAS, the Plaintiff, through his attorneys, has asserted claims against the
 Defendants for alleged violations of the Fair Labor Standards Act of 1938, as amended, and the
 New York Labor Law and related regulations, claiming unpaid overtime compensation and failure
 to provide weekly wage statements, notice of pay rate/wage statement forms, in an action filed in
 the United States District Court for the Eastern District of New York, entitled Mohammad v. Sri
 Hartimaa Inc. et al., Case No. 1:21-cv-00179-AMD-PK                     ; and

         WHEREAS, the Parties to this Agreement mutually desire to fully resolve and forever
 settle any and all claims, charges, complaints, grievances, disputes or other potential actions of
 any kind whatsoever that the Plaintiff may have for the purpose of avoiding the time, expense and
 inconvenience of litigation; and

          WHEREAS, all Parties to this Agreement are and have been represented by legal counsel
 at all times throughout the negotiation, preparation and execution of this Agreement, and all Parties
 have had a full and fair opportunity to consider this Agreement and review all of its terms with the
 assistance of such counsel; and

        WHEREAS, all Parties to this Agreement have carefully considered other alternatives to
 executing this Agreement and have entered into this Agreement knowingly, voluntarily and
 without coercion; and

         WHEREAS, the Plaintiff acknowledges and agrees that the payment of the Settlement
 Amount (as hereinafter defined) by the Defendants is provided as consideration for the
 agreement to knowingly and voluntarily release, dismiss and waive his claims and any actions,
 charges, complaints, grievances, disputes or other potential actions based upon the claims made in
 the above referenced action against the Releasees (as hereinafter defined), including but not limited
 to claims for attorneys fees, costs and disbursements, and is conditioned upon acceptance by the
 Plaintiff of the terms of this Agreement, as manifested by             execution of this Agreement;
 and

        WHEREAS, the Defendants acknowledge and agree that the release and covenant not to
 sue contained herein from the Plaintiff is provided by Plaintiff as consideration for payment of the
 Settlement Amount (as hereinafter defined); and


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        NOW THEREFORE, with the intent to be legally bound hereby and in consideration of
 the mutual covenants contained herein and for other good and valuable consideration, the receipt
 and sufficiency of which are hereby acknowledged by all of the Parties hereto, IT IS HEREBY
 AGREED by and between the Parties as follows:

                                          AGREEMENT

      (1) Submission of Agreement for Court Approval; Discontinuance of Action. The Parties
 shall jointly request that this Agreement be provided to the Court for inspection and approval,
 together with the proposed Order of Dismissal with Prejudice annexed to this Agreement as
 Exhibit A. This Agreement shall not become final and binding upon the Parties until it has been
                                                                                     r Standards
 Act claims asserted in the Action.

     (2)   No Admission of Liability.

         (a) The Defendants do not admit to any liability or wrongdoing whatsoever on their part
 or by any individuals acting under the Defendants supervision or on the Defendants behalf.
 Neither this Agreement nor the payment or acceptance of the Settlement Amount (as hereinafter
 defined) constitute, nor shall they be construed, described or characterized by any of the Parties
 hereto or by any of their agents or representatives as an admission by the Defendants or by any
 individuals acting under the Defendants supervision or on the Defendants behalf of any liability
 or wrongdoing or violation of any law, rule, regulation, public policy or contractual provision.

           (b) Furthermore, the Defendants have pursued this Settlement solely to avoid the
 expense of trial and to prevent further counsel fees in this matter. As previously noted by
 Defendants, it is their position that they maintained and produced precise time and payroll records
 for all times related                                                         Thus, this Agreement
 shall not serve as any form of precedence or wrongdoing in any future actions against the
 Defendants.

          (c)    Plaintiff believes the claims asserted have merit. However, he recognizes the
 significant costs associated with prosecuting this action through trial and any possible appeal(s),
 as well as the risks and delays inherent in any litigation.

      (3) Consideration. (a) In full and complete settlement and final satisfaction of any and all
 claims which the Plaintiff has, had, or may have against the Releasees (as hereinafter defined), the
 Defendants shall pay to the Plaintiff and his attorneys the gross total sum of Thirty Thousand
 and 00/100 ($30,000.00) (                               , payable as set forth in subparagraph (d),
 below. All checks shall be made payable as indicated in Paragraph 3(d) and sent to Charles
 Gershbaum, Hepworth, Gershbaum & Roth, PLLC, 192 Lexington Avenue, Suite 802, New York,
 New York 10016. Counsel for the Plaintiff will be solely responsible for distributing the
 settlement amount to the Plaintiff directly after deductions of counsel fees and costs.

     (b) The Settlement. Amount to be paid to the Plaintiff and his attorneys pursuant to this
 Agreement is in complete settlement of all demands or claims, whether for actual or compensatory
 damages, liquidated damages, interest, punitive damages,           fees, costs and disbursements
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 which the Plaintiff actually asserted or could have asserted against Defendants in the Action. The
 settlement payment shall be made by check to be delivered to: Hepworth, Gershbaum & Roth,
 PLLC, 192 Lexington Avenue, Suite 802, New York, NY 10016, Attn: Charles Gershbaum.

     The payment specified in subparagraph (a) above shall not be made until and unless this
     Agreement is approved by the Court and the Order of Dismissal with Prejudice annexed to
     this Agreement as Exhibit A has been entered by the Court upon the docket of the Action; and


      (c) Payment Schedule, Breakdown and confession of judgment. Payment of the Settlement
 Amount will be paid within (20) twenty days of the Court approval of this Agreement and the
 dismissal of the Action with prejudice. Within within (20) twenty days of the
 this Agreement and the dismissal of the Action with prejudice Defendants shall deliver to
 Plaintiff s counsel a confession of judgment in the amount of Thirty Five Thousand and 00/100
 ($35,000.00) Dollars, and payment of the Settlement Amount shall be made pursuant to the
 below schedule.
 shall pay:

                   i.
                           amount of $4,410.33, for which a 1099 will be issued to Hepworth,
                           Gershbaum & Roth, PLLC;

                   ii.                            Ullah Mohammad                    $2,794.84,
                           less lawful withholdings, for which Mr. Mohammad will be issued a
                           W-2; and

                   iii.                       Ullah Mohammad             amount of $2,794.84,
                           for which Mr. Mohammad will be issued a 1099.

                   iv.     Defendants shall also pay the amounts described in section (3)(c)(1)-
                           (3) below, monthly on the 10th day of the month thereafter for the next
                           following twenty (20) months until the total Thirty Thousand and
                           00/100 ($30,000.00) is paid in full:

                               1.
                                    in the amount of $333.33, for which a 1099 will be issued to
                                    Hepworth, Gershbaum & Roth, PLLC;

                               2.                          Ullah Mohammad
                                    $333.34, less lawful withholdings, for which Mr. Mohammad
                                    will be issued a W-2; and

                               3.                         Ullah Mohammad
                                    $333.33, for which Mr. Mohammad will be issued a 1099.




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                         v. Upon the final payment of the Thirty Thousand and 00/100
                            ($30,000.00). Plaintiff shall destroy the confession of judgment and
                            inform the Defendant that said confession has been destroyed.


         Full Satisfaction. It is mutually understood and agreed by all Parties to this Agreement that
 the Settlement Amount to be paid by the Defendants to the Plaintiff via the
 pursuant to this Agreement shall constitute full, final and complete satisfaction and settlement of
 any and all claims that have or may have been asserted by the Plaintiff, whether under the Fair
 Labor Standards Act of 1938, 29 U.S.C. §§ 201, et seq., the New York Labor Law and related
 regulations, against the Releasees (as hereinafter defined) as of the date of this Agreement, and
 shall include all elements of recovery permitted under such laws whether for back pay, front pay,
 liquidated damages, compensatory damages, punitive damages, expenses, interest, attorney s fees,
 expert witness fees, costs or disbursements, and the Plaintiff expressly waives any and all such
 claims against the Releasees (as hereinafter defined). The Parties agree and affirm that the money
 to be paid by the Defendants to the Plaintiff pursuant to this Agreement represents a fair and
 reasonable resolution of the claims raised by the Plaintiff in light of factual disputes and the totality
 of the circumstances.

         Default. In the event of a default by Defendants in connection with the payments required
 to be made under paragraph 3(c) herein, Plaintiffs agree to provide Defendants, with written notice
 of said default and ten (10) business days within which to cure said default. Such notice shall be
 sent to Law Offices of Sanjay Chaubey, Esq., 19 Stillman Lane, Pleasantville, N.Y. 10570, Attn:
 Sanjay Chaubey, via email and regular mail. If the default is not cured within ten (10) business
 days of Plaintiff providing such notice in the manner described in preceding the sentence, Plaintiff
 shall be entitled to recover from Defendant, the full Thirty Thousand and 00/100 ($30,000.00)
 and additional amount of Five Thousand and 00/100 ($5,000.00) with a credit in the amount of
 any monies already paid.

         The Parties agree that Plaintiff may institute any action as described in this paragraph in
 the Supreme Court of the State of New York, County of New York, that venue is appropriate in
 that court, and that no challenge to venue will be made. Plaintiff will be entitled to and Defendants
 agree to pay
 Agreement up through and including the appellate process.

     (4)    Waiver and Release.        (a) In consideration of the foregoing, the Plaintiff does, on
 behalf of himself and his agents, hereby knowingly, voluntarily, unconditionally and irrevocably
 WAIVE, RELEASE and FOREVER DISCHARGE Sri Hartimaa Inc., and Sher Bhdur Karki,
 and each and every one of their divisions, affiliates, subsidiaries, parents, corporations under
 common ownership or control, related business entities, predecessors, successors, management
 companies, assigns, officers, directors, trustees, employees, agents, shareholders, administrators,
 representatives, attorneys, insurers or fiduciaries, past, present or future (hereinafter referred to
                                                              made in the above referenced lawsuit,
 which may heretofore have existed or which may now exist including, but not limited to, any
 claims arising under the National Labor Relations Act, 29 U.S.C. §151 et seq., the Fair Labor
 Standards Act, 29 U.S.C. §201 et seq., the Davis Bacon Act, 40 U.S.C. § 3141, et seq., the New

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 York Labor Law and related regulations, the New York Equal Pay Law, as amended, the New
 York State Wage and Hour Laws, including, but not limited to, wage-hour, wage-payment, or any
                                                                    ny other claims, based upon

 this Agreement.

     (b) The Plaintiff specifically waives his right to recover any money whatsoever in connection
 with any charge or investigation by any government agency.

      (c) To the fullest extent permitted by law, the Plaintiff Promises Not To Sue or bring any
 charges, complaints or lawsuits related to the claims hereby waived against the Releasees in the
 future, individually or as a member of a class.

     (d) In the event that plaintiff violates this Agreement by bringing or maintaining any charges,
 claims, grievances or lawsuits contrary to this Paragraph, the Plaintiff shall repay the settlement
 amount to Defendants.

      (e) The Plaintiff intends hereby to expressly waive and relinquish, to the fullest extent
 permitted by law, ALL CLAIMS delinated in Paragraph (a) above the Plaintiff further
 acknowledges that he is aware that he hereafter may discover facts in addition to or different from
 those which he now knows or believes to be true with respect to the subject matter of this
 Agreement, but that it is            intention to, and he does fully, finally and forever settle and
 release any and all wage claims against the Releasees in any forum whatsoever, whether known or
 unknown, suspected or unsuspected, which now exist without regard to the subsequent discovery
 or existence of any such different additional facts.

         (f) The Plaintiff knowingly, intentionally and voluntarily releases and discharges the
 Releasees not only from all claims delinated in Paragraph (a) which the Plaintiff could make on
 his own behalf, but Plaintiff also specifically waives any right to become, and promises not to
 become, a member of any class or collective class in any proceeding or case in which a claim or
 claims against the Releasees may arise, in whole or in part, from any event which occurred prior
 to            execution of this Agreement. It is understood that if the Plaintiff, by no action of his
 own, becomes a mandatory member of any class from which Plaintiff cannot opt out by operation
 of law or court order, such mandatory class membership will not constitute a breach of this
 Agreement; however in such event the Plaintiff waives his right to any monetary recovery as a
 result of such action.

     (g) This WAIVER, RELEASE and PROMISE NOT TO SUE is binding on the Plaintiff.

      (5) No Other Claims. The Plaintiff represents that, other than the Action, he has not filed
 any complaints or charges against the Defendants with any local, state or federal agency or court.
 Further, to the fullest extent permitted by law. In the event it is discovered that the Plaintiff files
 or has filed any such claim(s), the Plaintiff agrees to immediately take all reasonable and necessary
 measures to effect the prompt dismissal of such claim(s).

     (6) Non-Assignment of Claims. this agreement cannot be assigned or transferred, to any
 person, firm, or corporation whatsoever. This includes any of the matters released in the
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 Agreement or agreements to defend, indemnify and hold harmless Releasees against any debts,
 obligations, liabilities, demands, damages, actions or causes of actions based on or arising out of
 or in connection with any such transfer or assignment, including without limitation, the payment


      (7)                                                   The Parties shall each bear their own
 attorney s fees, costs, and expenses, except as may be expressly provided herein.

      (8) Tax Liability and Indemnity. The Plaintiff acknowledges that the Defendants and their
 counsel do not make and have not made any representations regarding the taxability of such
 amounts or the necessity for making withholdings therefrom, and the Plaintiff further
 acknowledges that he has not relied upon any advice or representation by any of the Defendants
 or their attorneys as to the necessity for withholding from or the taxability of such amounts. .
 Plaintiffs and their attorneys agree to indemnify and hold harmless Defendants for any such
 liability related thereto.

      (9) Entire Agreement. This Agreement, when signed by all Parties, shall constitute the
 entire understanding and agreement between the Parties and supersedes and cancels any and all
 prior oral and written agreements, if any, between and among them. The Parties warrant that there
 were no representations, agreements, arrangements or understandings between them, whether
 written or oral, relating to the subject matter contained in the Agreement which are not fully
 expressed herein and that no party has relied upon any such representations, agreements,
 arrangements or understandings, whether written or oral, in entering into this Agreement.

     (10) Modification in Writing. This Agreement may not be altered, amended or modified, nor
 any of its provisions waived, except by a further agreement in writing signed by all of the Parties
 or by their respective counsel.

     (11) No Other Assurances. The Plaintiff acknowledges that, in deciding to execute this
 Agreement, he has not relied upon any promises, statements, representations or commitments,
 whether spoken or in writing, made to him by anyone, except for what is expressly stated in this
 Agreement.


      (12) Neutral Reference. Defendant may direct any direct inquiries regarding his employment
 with the Company to Sher Bhdur Karki , who will provide a neutral reference by confirming his
 dates of employment, position held, and income only.
 employment will be provided. Further, if asked why they are providing only that limited
 information,

      (13) Breach of Agreement. Breach of any of the provisions of this Agreement by the Parties
 shall be deemed a material breach. In the event of any such breach, as determined by a court of
 competent jurisdiction, the non-breaching Party shall be entitled to recover damages, reasonable




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      (14) Governing Law. This Agreement and the rights and obligations of the Parties
 hereunder are to be governed by and construed and interpreted in accordance with the laws of the
 State of New York applicable to contracts made and to be performed wholly within New York,
 without regard to choice or conflict of laws principles.

      (15) Joint Preparation. The language of all parts of this Agreement shall in all cases be
 construed as a whole, extending to it its fair meaning, and not strictly for or against any of the
 Parties. The Parties agree that, in consultation with their attorneys, they have jointly prepared and
 approved the language of the provisions of this Agreement, and that should any dispute arise
 concerning the interpretation of any provision hereof, neither the Plaintiff nor the Defendants shall
 be deemed the drafter, nor shall any such language be presumptively construed in favor of or
 against either the Plaintiff or the Defendants.

      (16) Severability. If any provision, term or clause of this Agreement is declared by any court
 of competent jurisdiction or any foreign, federal, state, county or local government or any other
 governmental regulatory or administrative agency or authority or arbitration panel to be invalid,
 void, unenforceable or against public policy for any reason, that provision, term or clause shall be
 deemed severable, such that all other provisions, terms and clauses of this Agreement shall remain
 in full force and effect and shall continue to be valid and binding upon all of the Parties. Upon
 any finding that a release or waiver of claims or rights or a covenant set forth herein is illegal, void
 or unenforceable, the Plaintiff agrees to promptly execute new releases, waivers and/or covenants
 that are legal and enforceable.

     (17) Execution. This Agreement may be executed with original signatures or by facsimile
 or PDF-scanned signatures, either of which shall be deemed legally binding as fully as an original
 signature.

 HAVING ELECTED TO EXECUTE THIS AGREEMENT, TO FULFILL THE PROMISES
 AND TO RECEIVE THE SUMS AND BENEFITS OF THIS AGREEMENT AS SET FORTH
 ABOVE, THE PLAINTIFF FREELY AND KNOWINGLY, AND AFTER DUE
 CONSIDERATION, ENTERS INTO THIS AGREEMENT INTENDING TO WAIVE, SETTLE
 AND RELEASE ALL CLAIMS THAT HE HAS OR MIGHT HAVE AGAINST THE
 RELEASEES, RAISED WITHIN THE ACTION.

        IN WITNESS WHEREOF, the parties hereto have knowingly and voluntarily executed
 this Agreement as of the date set forth beneath their respective signatures below:


 _______________________________                               _______________________________
 ULLAH MOHAMMAD                                                 Sher Bhdur Karki, Individually
 Dated: ________________, 2022                                  Dated: ________________, 2022


                                                                 Sher Bhdur Karki, behalf of Sri
                                                                 Hartimaa Inc.
                                                                 Dated: ________________, 2022

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      (14) Governing Law. This Agreement and the rights and obligations of the Parties
 hereunder are to be governed by and construed and interpreted in accordance with the laws of the
 State of New York applicable to contracts made and to be performed wholly within New York,
 without regard to choice or conflict of laws principles.

      (15) Joint Preparation. The language of all parts of this Agreement shall in all cases be
 construed as a whole, extending to it its fair meaning, and not strictly for or against any of the
 Parties. The Parties agree that, in consultation with their attorneys, they have jointly prepared and
 approved the language of the provisions of this Agreement, and that should any dispute arise
 concerning the interpretation of any provision hereof, neither the Plaintiff nor the Defendants shall
 be deemed the drafter, nor shall any such language be presumptively construed in favor of or
 against either the Plaintiff or the Defendants.

      (16) Severability. If any provision, term or clause of this Agreement is declared by any court
 of competent jurisdiction or any foreign, federal, state, county or local government or any other
 governmental regulatory or administrative agency or authority or arbitration panel to be invalid,
 void, unenforceable or against public policy for any reason, that provision, term or clause shall be
 deemed severable, such that all other provisions, terms and clauses of this Agreement shall remain
 in full force and effect and shall continue to be valid and binding upon all of the Parties. Upon
 any finding that a release or waiver of claims or rights or a covenant set forth herein is illegal, void
 or unenforceable, the Plaintiff agrees to promptly execute new releases, waivers and/or covenants
 that are legal and enforceable.

     (17) Execution. This Agreement may be executed with original signatures or by facsimile
 or PDF-scanned signatures, either of which shall be deemed legally binding as fully as an original
 signature.

 HAVING ELECTED TO EXECUTE THIS AGREEMENT, TO FULFILL THE PROMISES
 AND TO RECEIVE THE SUMS AND BENEFITS OF THIS AGREEMENT AS SET FORTH
 ABOVE, THE PLAINTIFF FREELY AND KNOWINGLY, AND AFTER DUE
 CONSIDERATION, ENTERS INTO THIS AGREEMENT INTENDING TO WAIVE, SETTLE
 AND RELEASE ALL CLAIMS THAT HE HAS OR MIGHT HAVE AGAINST THE
 RELEASEES, RAISED WITHIN THE ACTION.

        IN WITNESS WHEREOF, the parties hereto have knowingly and voluntarily executed
 this Agreement as of the date set forth beneath their respective signatures below:


 _______________________________                               _______________________________
 ULLAH MOHAMMAD                                                 Sher Bhdur Karki, Individually
 Dated: ________________, 2022                                  Dated: ________________, 2022


                                                                Sher Bhdur Karki, behalf of Sri
                                                                Hartimaa Inc.
                                                                Dated: ________________, 2022

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